
47 So.3d 379 (2010)
Sothea KIM, Petitioner,
v.
STATE of Florida, Respondent.
No. 5D10-3220.
District Court of Appeal of Florida, Fifth District.
November 12, 2010.
Sothea Kim, Bonifay, pro se.
Bill McCollum, Attorney General, Tallahassee, and Wesley Heidt, Assistant Attorney General, Daytona Beach, for Respondent.
PER CURIAM.
The petition for belated appeal is granted. A copy of this opinion shall be filed with the trial court and be treated as the notice of appeal from the judgment and sentence rendered in case no. 2008-CF-009967-B-O, in the Circuit Court in and for Orange County, Florida. See Fla. R.App. P. 9.141(c)(5)(D).
PETITION GRANTED.
MONACO, C.J., GRIFFIN and PALMER, JJ., concur.
